      Case 3:07-cr-00031-PDW           Document 146        Filed 11/07/07      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHEASTERN DIVISION

United States of America,                      )
                                               )
                      Plaintiff,               )
                                               )               ORDER ON MOTIONS
vs.                                            )
                                               )              Criminal No. 3:07-cr-31-02
Robert John Zukowski,                          )
a/k/a Jay,                                     )
                                               )
                      Defendant.               )


       Before the Court are three pretrial motions, two filed by Defendant and one filed by the

United States.

                        I. Motion to Compel Handwriting Exemplars

       The United States has filed a Motion to Compel Handwriting Exemplars from Defendant

(Doc. #127). Defendant has no objection to the motion. Therefore, in accordance with the oral

order of the Court at the telephonic conference on November 5, 2007, the United States’ Motion to

Compel Handwriting Exemplars from Defendant is GRANTED.

            II. Motion for Discovery and Disclosure of Presentence Investigation
                             Reports of Government Witnesses

       Defendant has filed a Motion for Discovery and Disclosure of Portions of Presentence

Investigation Reports of Government Witnesses (Doc. #118). Defendant requests that the Court

review in camera the presentence investigation reports which have been prepared for any of the

Government’s witnesses. Defendant specifically requests that the Court disclose the sections of the

presentence reports containing prior criminal history, the facts and circumstances surrounding the

offense, the individual defendant’s statement regarding involvement in the offense, and any

                                                   1
       Case 3:07-cr-00031-PDW           Document 146         Filed 11/07/07       Page 2 of 4




statement regarding the applicability of the safety valve provision. Defendant generally states that

these sections of the presentence report “contain impeachment evidence which may be used by [him]

against the individual witness.” The United States has filed a brief in opposition (Doc. #136).

       Presentence investigation reports function primarily to assist the court in determining an

appropriate sentence, and therefore are generally viewed as confidential. United States v. Molina,

356 F.3d 269, 274 (2d Cir. 2004). In U.S. Dep’t of Justice v. Julian, 486 U.S. 1, 12 (1988)

(emphasis omitted) (citations omitted), the United States Supreme Court discussed disclosure of

presentence investigation reports to third parties:

       [I]n both civil and criminal cases the courts have been very reluctant to give third
       parties access to the presentence investigation report prepared for some other
       individual or individuals. As the Government points out, one reason for this is the
       fear that disclosure of the reports will have a chilling effect on the willingness of
       various individuals to contribute information that will be incorporated into the report.
       A second reason is the need to protect the confidentiality of the information
       contained in the report. Accordingly, the courts have typically required some
       showing of special need before they will allow a third party to obtain a copy of a
       presentence report.

       The Eighth Circuit has held that a district court acted within its discretion when it reviewed

a co-defendant’s presentence investigation report in camera to determine whether any portions were

discoverable to the defendant. See United States v. De Vore, 839 F.2d 1330, 1332-33 (8th Cir.

1988). However, the Court has not found any Eighth Circuit case law requiring district courts to

automatically conduct a review in camera when a third party requests discovery of a presentence

investigation report.

       Other circuit courts have recognized limitations on the district court’s obligation to conduct

an in camera review of presentence reports for disclosure to third parties. The Second Circuit has

held that district courts are not required to review a presentence report in camera “without a


                                                  2
       Case 3:07-cr-00031-PDW            Document 146         Filed 11/07/07       Page 3 of 4




threshold showing of a good faith belief that a co-defendant’s PSR contains exculpatory evidence

not available elsewhere.” Molina, 356 F.3d at 275. Key to this showing is whether the information

in the presentence report is obtainable from other sources. Id. The Fourth Circuit has held that “as

a prerequisite to an in camera review, an accused must plainly articulate how the information

contained in the PSR will be both material and favorable to his defense.” United States v. Trevino,

89 F.3d 187, 192-93 (4th Cir. 1996). In evaluating the requested information, the district court may

consider whether the material is available from other sources, and whether the witness will be

effectively impeached otherwise. Id.

       Here, Defendant has broadly requested discovery of the presentence investigation reports of

“any government witnesses,” without even listing the names of any witnesses. He also generally

states that the presentence reports will contain “impeachment evidence” that he may use against each

individual witness. It appears to the Court that Defendant has not considered exactly what particular

information he may expect to find in the reports. Furthermore, Defendant has specifically requested

the sections regarding criminal history and the facts and circumstances surrounding the offense, both

of which should be obtainable from other sources. Although an individual defendant’s statement

regarding the offense may not be available elsewhere, Defendant has not articulated to the Court

what type of exculpatory or impeaching information he might expect to find in any such statement.

It is also not readily apparent to the Court why information about the applicability of the safety valve

would be either exculpatory or impeaching evidence.

       Defendant has made conclusory statements about the impeachment value of the presentence

investigation reports, without any reference to particular witnesses or particular information. In

these circumstances, the Court concludes Defendant has not made a showing sufficient to trigger


                                                   3
       Case 3:07-cr-00031-PDW            Document 146         Filed 11/07/07       Page 4 of 4




in camera review of the presentence investigation reports of the Government’s witnesses.

Defendant’s Motion for Discovery and Disclosure of Portions of Presentence Investigation Reports

of Government Witnesses is DENIED.

                        III. Motion for Leave to File Additional Motions

       Defendant has filed a Motion for Leave to File Additional Motions (Doc. #119).

Specifically, Defendant requests that he be allowed to file pretrial motions, if necessary, arising from

previously filed discovery motions. The United States has not filed a response.

       The Court will not issue an open-ended order permitting additional motions on discovery.

However, the Court will consider whether any additional discovery motions should be permitted on

an ad hoc basis. In the event Defendant believes such an additional motion is necessary to effectuate

a discovery order of the Court, he should seek permission to file the motion at that time.

Defendant’s Motion for Leave to File Additional Motions is DENIED.

       IT IS SO ORDERED.

       Dated this 7th day of November, 2007.



                                                  /s/ Ralph R. Erickson
                                               Ralph R. Erickson, District Judge
                                               United States District Court




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